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                     THE UNITED STATES DISTRICT COURT
                     FOR THE NOTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

UNITED STATES OF                             §
AMERICA                                      §
                                             §
v.                                           §         NO. 3:21-cr-00054-N
                                             §
DANIEL REY SETTLE                            §

     DEFENDANT DANIEL REY SETTLE’S UNOPPOSED MOTION FOR
EXTENSION OF TIME TO FILE OBJECTIONS TO THE PRESENTENCE
                                        REPORT


TO THE HONORABLE UNITED STATES DISTRICT COURT CHIEF
JUDGE DAVID C. GODBEY:


COMES NOW, DANIEL REY SETTLE, Defendant in the above styled and
numbered cause and files his Unopposed Motion to Extend the deadline to file
objections to the presentence report and would show the Court as follows:
                                            I.
1.       The deadline to file the objections to the presentence report is today January
         19, 2024.
2.       Counsel has provided a copy of the presentence report to his client and has
         reviewed the report and identified a number of objections that will be
         lodged.
3.       Prior to filing the objections counsel needs to visit with Mr. Settle regarding
         objections that he may wish to have raised.

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4. Counsel’s schedule has prevented that meeting from occurring.
5. Counsel requests that the Court extend the deadline to file objections to the
        presentence report until January 26, 2024.
6. This matter is currently set for sentencing on February 26, 2024.


WHEREFORE, PREMISES CONSIDERED, the Defendant prays that his
unopposed motion to extend the deadline to file objections be GRANTED.


                                        Respectfully submitted,
                                        /s/Russell Wilson II
                                        RUSSELL WILSON II
                                        Texas State Bar No. 00794870
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                                        DANIEL REY SETTLE




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                         CERTIFICATE OF SERVICE
This is to certify that on January 19, 2024, a true and correct copy of the above and
foregoing document was served on all parties via ECF.


                                       /s/Russell Wilson II
                                       RUSSELL WILSON II



                       CERTFICATE OF CONFERENCE
Prior to filing this motion, I conferred with counsel for the government and the
motion is unopposed.


                                       /s/ Russell Wilson II
                                       RUSSELL WILSON II




DEFENDANT DANIEL REY SETTLE’S UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE
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